     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 1
                                                        Filed 02/10/17   of 761 of 76
                                                                       Page



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

   IN RE: XARELTO (RIVAROXABAN)        *           MDL 2592
   PRODUCTS LIABILITY LITIGATION       *
                                       *           SECTION L
   THIS DOCUMENT RELATES TO:           *
         ALL CASES                     *           JUDGE ELDON E. FALLON
                                       *
                                       *           MAG. JUDGE NORTH
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                               EXHIBIT 12 TO
          PLAINTIFFS’ MOTION TO PRECLUDE SPECULATIVE TESTIMONY
           FROM SIX DEFENSE EXPERTS ABOUT POTENTIAL OUTCOMES
                       FROM OTHER ANTICOAGULANTS




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                                                                             USCA5 1282
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 2
                                                        Filed 02/10/17   of 762 of 76
                                                                       Page




                                                                             USCA5 1283
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 3
                                                        Filed 02/10/17   of 763 of 76
                                                                       Page




                                                                             USCA5 1284
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 4
                                                        Filed 02/10/17   of 764 of 76
                                                                       Page




                                                                             USCA5 1285
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 5
                                                        Filed 02/10/17   of 765 of 76
                                                                       Page




                                                                             USCA5 1286
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 6
                                                        Filed 02/10/17   of 766 of 76
                                                                       Page




                                                                             USCA5 1287
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 7
                                                        Filed 02/10/17   of 767 of 76
                                                                       Page




                                                                             USCA5 1288
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 8
                                                        Filed 02/10/17   of 768 of 76
                                                                       Page




                                                                             USCA5 1289
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 9
                                                        Filed 02/10/17   of 769 of 76
                                                                       Page




                                                                             USCA5 1290
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 10
                                                        Filed 02/10/17    of 76
                                                                       Page  10 of 76




                                                                             USCA5 1291
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 11
                                                        Filed 02/10/17    of 76
                                                                       Page  11 of 76




                                                                             USCA5 1292
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 12
                                                        Filed 02/10/17    of 76
                                                                       Page  12 of 76




                                                                             USCA5 1293
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 13
                                                        Filed 02/10/17    of 76
                                                                       Page  13 of 76




                                                                             USCA5 1294
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 14
                                                        Filed 02/10/17    of 76
                                                                       Page  14 of 76




                                                                             USCA5 1295
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 15
                                                        Filed 02/10/17    of 76
                                                                       Page  15 of 76




                                                                             USCA5 1296
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 16
                                                        Filed 02/10/17    of 76
                                                                       Page  16 of 76




                                                                             USCA5 1297
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 17
                                                        Filed 02/10/17    of 76
                                                                       Page  17 of 76




                                                                             USCA5 1298
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 18
                                                        Filed 02/10/17    of 76
                                                                       Page  18 of 76




                                                                             USCA5 1299
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 19
                                                        Filed 02/10/17    of 76
                                                                       Page  19 of 76




                                                                             USCA5 1300
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 20
                                                        Filed 02/10/17    of 76
                                                                       Page  20 of 76




                               EXHIBIT “A”




                                                                             USCA5 1301
                                  Case 2:14-md-02592-EEF-MBN
                             Case 2:14-md-02592-EEF-MBN      Document
                                                         Document      5399-16
                                                                  5399-16      Filed 02/10/17
                                                                          *SEALED*             Page 21
                                                                                     Filed 02/10/17    of 76
                                                                                                    Page  21 of 76
                                                                          Sammy Khatib, M.D.
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    Expert       Date Sent                                                      Document Description                 Bates Range                                  Comments
                                Category    Document     Document                                                                   Protective    Available
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Khatib, Sammy,                Deposition                             Deposition transcript of Kenneth Wong,
                 11/6/2016                  07/11/2016                                                                             Confidential    FALSE
M.D.                          Transcript                             M.D.
Khatib, Sammy,                Deposition
                 11/6/2016                  09/27/2016               Deposition transcript of Timothy Alvin, M.D.                  Confidential    FALSE
M.D.                          Transcript
Khatib, Sammy,                Deposition
                 11/6/2016                  09/22/2016               Deposition transcript of Peter Fail, M.D.                     Confidential    FALSE
M.D.                          Transcript
Khatib, Sammy,                Deposition
                 11/5/2016                  07/07/2016               Deposition Transcript of Cuong Bui, M.D.                      Confidential    FALSE
M.D.                          Transcript
Khatib, Sammy,                Deposition                             Deposition transcript of MAURICE ST.
                 11/5/2016                  06/27/2016                                                                             Confidential    FALSE
M.D.                          Transcript                             MARTIN, M.D.
Khatib, Sammy,                                                       Expert Report of Henry Michael Rinder,
                 11/15/2016 Expert Report   10/14/2016                                                                             Confidential    FALSE
M.D.                                                                 M.D. (Boudreaux Specific)
Khatib, Sammy,                                                       General Expert Report of Frank W. Smart,
                 11/15/2016 Expert Report   10/14/2016                                                                             Confidential    FALSE
M.D.                                                                 MD, FACC, FACP
Khatib, Sammy,                                                       General Expert Report of Henry Michael
                 11/15/2016 Expert Report   10/14/2016                                                                             Confidential    FALSE
M.D.                                                                 Rinder, M.D.
Khatib, Sammy,                                                       General Expert Report of Phillip S. Cuculich,
                 11/15/2016 Expert Report   10/14/2016                                                                             Confidential    FALSE
M.D.                                                                 M.D.
Khatib, Sammy,                                                       General Expert Report of Edward S. Peters,
                 11/15/2016 Expert Report   10/12/2016                                                                             Confidential    FALSE
M.D.                                                                 D.M.D, S.M., Sc.D.
Khatib, Sammy,                                                       Expert Report of Cindy Leissinger
                 11/15/2016 Expert Report   10/14/2016                                                                             Confidential    FALSE
M.D.                                                                 (Boudreaux Specific)
Khatib, Sammy,                                                       General Expert Report of Cindy Leissinger,
                 11/15/2016 Expert Report   10/14/2016                                                                             Confidential    FALSE
M.D.                                                                 M.D.
                                                                     Kripalani, S., Yao, X., & Haynes, R. B. (2007).
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M.D.
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                                  Case 2:14-md-02592-EEF-MBN
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                                                         Document      5399-16
                                                                  5399-16      Filed 02/10/17
                                                                          *SEALED*             Page 22
                                                                                     Filed 02/10/17    of 76
                                                                                                    Page  22 of 76
                                                                       Sammy Khatib, M.D.
                                                                        Reliance Material
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    Expert       Date Sent                                                   Document Description                  Bates Range                                 Comments
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Khatib, Sammy,
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M.D.
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Khatib, Sammy,
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M.D.
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M.D.                                                              testing of CYP2C9 and VKORC1 alleles for
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                             Case 2:14-md-02592-EEF-MBN      Document
                                                         Document      5399-16
                                                                  5399-16      Filed 02/10/17
                                                                          *SEALED*             Page 23
                                                                                     Filed 02/10/17    of 76
                                                                                                    Page  23 of 76
                                                                       Sammy Khatib, M.D.
                                                                        Reliance Material
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    Expert       Date Sent                                                  Document Description                Bates Range                                 Comments
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M.D.
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M.D.                                                              of rivaroxaban in patients with non‐valvular
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                             Case 2:14-md-02592-EEF-MBN      Document
                                                         Document      5399-16
                                                                  5399-16      Filed 02/10/17
                                                                          *SEALED*             Page 24
                                                                                     Filed 02/10/17    of 76
                                                                                                    Page  24 of 76
                                                                       Sammy Khatib, M.D.
                                                                        Reliance Material
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                               Document     Date of   Source of                                                                        Under      Publically
    Expert       Date Sent                                                   Document Description                     Bates Range                                 Comments
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M.D.                                                              fibrillation: A report of the American
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                             Case 2:14-md-02592-EEF-MBN      Document
                                                         Document      5399-16
                                                                  5399-16      Filed 02/10/17
                                                                          *SEALED*             Page 25
                                                                                     Filed 02/10/17    of 76
                                                                                                    Page  25 of 76
                                                                       Sammy Khatib, M.D.
                                                                        Reliance Material
                                                                                                                                  Designation
                               Document     Date of   Source of                                                                      Under      Publically
    Expert       Date Sent                                                   Document Description                   Bates Range                                 Comments
                                Category   Document   Document                                                                     Protective   Available
                                                                                                                                     Order
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M.D.                                                              Rates, management, and outcome of
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M.D.
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                                  Case 2:14-md-02592-EEF-MBN
                             Case 2:14-md-02592-EEF-MBN      Document
                                                         Document      5399-16
                                                                  5399-16      Filed 02/10/17
                                                                          *SEALED*             Page 26
                                                                                     Filed 02/10/17    of 76
                                                                                                    Page  26 of 76
                                                                       Sammy Khatib, M.D.
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                               Document     Date of   Source of                                                                   Under      Publically
    Expert       Date Sent                                                  Document Description                 Bates Range                                 Comments
                                Category   Document   Document                                                                  Protective   Available
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Khatib, Sammy,
                 10/7/2016 Literature                             effectiveness and safety of rivaroxaban and n/a                              TRUE
M.D.
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                 10/7/2016 Literature                                                                           n/a                            TRUE
M.D.                                                              real-world, prospective, observational study
                                                                  of patients treated with rivaroxaban for
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Khatib, Sammy,
                              Literature     2011     Journal     Journal, 26 (2), 77-83. Retrieved from URL None                              TRUE       Report citation
M.D.
                                                                  https://www.ncbi.nlm.nih.gov/pmc/articles/
                                                                  PMC3191675/
Khatib, Sammy,
               11/15/2016 Literature       9/26/16    FDA         FDA ROCKET AF Reanalysis Reviews.pdf         None                            TRUE
M.D.
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Khatib, Sammy,
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M.D.
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                             Case 2:14-md-02592-EEF-MBN      Document
                                                         Document      5399-16
                                                                  5399-16      Filed 02/10/17
                                                                          *SEALED*             Page 27
                                                                                     Filed 02/10/17    of 76
                                                                                                    Page  27 of 76
                                                                         Sammy Khatib, M.D.
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                                Category   Document     Document                                                                 Protective   Available
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M.D.
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                                                                    rivaroxaban for stroke prevention in atrial
                                                        http://eurh ﬁbrillation
Khatib, Sammy,                                          eartj.oxfor
               11/10/2016 Literature       09/01/2015                                                                                          FALSE
M.D.                                                    djournals.o A. John Camm, Pierre Amarenco, Sylvia
                                                        rg          Haas, Susanne Hess, Paulus Kirchhof, Silvia
                                                                    Kuhls, Martin van Eickels, and Alexander
                                                                    G.G. Turpie, on behalf of the XANTUS
                                                                    Investigators
                                                                    Hospitalizations and Other Health Care
                                                                     Resource Utilization Among Patients with
                                                                     Deep Vein Thrombosis Treated with
                                                                     Rivaroxaban Versus Low-molecular-weight
                                                        http://dx.d
                                                                     Heparin and Warfarin in the Outpatient
                                                        oi.org/10.1
Khatib, Sammy,                                                       Setting
               11/10/2016 Literature       07/01/2016   016/j.clinth                                                                           FALSE
M.D.                                                                 Steven Deitelzweig, MD1; Fran¸cois
                                                        era.2016.0
                                                                     Laliberte´, MA; Concetta Crivera,
                                                        7.002
                                                                     MPH;Guillaume Germain, MA; Brahim K.
                                                                     Bookhart, MBA, MPH3; William H. Olson,
                                                                     PhD; Jeffrey Schein, PhD; and Patrick
                                                                     Lefebvre, MA




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                                                                         *SEALED*             Page 28
                                                                                    Filed 02/10/17    of 76
                                                                                                   Page  28 of 76
                                                                         Sammy Khatib, M.D.
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                                                                   Ischaemic and haemorrhagic stroke
                                                                   associated with non-vitamin K antagonist
                                                                   oral anticoagu-lants and warfarin use in
                                                                   patients with atrial fibrillation: a nationwide
                                                       http://eurh
                                                                   cohort study
Khatib, Sammy,                                         eartj.oxfor
               11/10/2016 Literature      09/21/2016               Laila Staerk, Emil Loldrup Fosbøl, Gregory                                     FALSE
M.D.                                                   djournals.o
                                                                   Y.H. Lip, Morten Lamberts, Anders Nissen
                                                       rg
                                                                   Bonde, Christian Torp-Pedersen, Brice
                                                                   Ozenne, Thomas Alexander Gerds, Gunnar
                                                                   Hilmar Gislason, and
                                                                   Jonas Bjerring Olesen
                                                                    Major bleeding risk among non- valvular
                                                                    atrial fibrillation patients initiated on
                                                                    apixaban, dabigatran, rivaroxaban or
                                                       wileyonline
                                                                    warfarin: a “real- world” observational
Khatib, Sammy,                                         library.com
               11/10/2016 Literature      07/01/2016                study in the United States                                                    FALSE
M.D.                                                   /journal/ijc
                                                                    Gregory Y. H. Lip, Xianying Pan, Shital
                                                       p
                                                                    Kamble, Hugh Kawabata,
                                                                    Jack Mardekian, Cristina Masseria, Amanda
                                                                    Bruno, Hemant Phatak
                                                                   Meta‐Analysis of Efﬁcacy and Safety of New
                                                                   Oral Anticoagulants
                                                       http://dx.d
                                                                   (Dabigatran, Rivaroxaban, Apixaban) Versus
                                                       oi.org/10.1
Khatib, Sammy,                                                     Warfarin in Patients With Atrial Fibrillation
               11/10/2016 Literature      03/17/2012   016/j.amjc                                                                                 FALSE
M.D.                                                               Corey S. Miller, BAa,c, Sonia M. Grandi,
                                                       ard.2012.0
                                                                   MSca, Avi Shimony, MDa,b,d, Kristian B.
                                                       3.049
                                                                   Filion, PhDa, and Mark J. Eisenberg, MD,
                                                                   MPHa,b,c,*




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                                                                                     Filed 02/10/17    of 76
                                                                                                    Page  29 of 76
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                                                                    Real-World comparative effectiveness and
                                                        http://dx.d safety of rivaroxaban and warfarin in
                                                        oi.org/10.1 nonvalvular atrial fibrillation patients
Khatib, Sammy,
               11/10/2016 Literature       04/02/2014   185/03007 Francois Laliberte', Michel Cloutier, Winnie                                       FALSE
M.D.
                                                        995.2014.9 W. Nelson, Craig L. Coleman, Dominic Pilon,
                                                        07140       William H. Olson, C.V. Damaraju, Jeffrey R.
                                                                    Schein & Patrick Lefebvre


                                                                    Real-world comparison of major bleeding
                                                                    risk among non-valvular atrial fibrillation
                                                        http://dx.d patients initiated on apixaban, dabigatran,
Khatib, Sammy,                                          oi.org/10.1 rivaroxaban, or warfarin A propensity score
               11/10/2016 Literature       07/27/2016                                                                                                FALSE
M.D.                                                    160/TH16- matched analysis
                                                        05-0403     Gregory Y. H. Lip; Allison Keshishian; Shital
                                                                    Kamble; Xianying Pan; Jack Mardekian;
                                                                    Ruslan Horblyuk; Melissa Hamilton


                                                                    Real-world evidence of stroke prevention in
                                                        http://dx.d
                                                                    patients with nonvalvular atrial fibrillation
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Khatib, Sammy,                                                      in the United States: the REVISIT-US study
               11/10/2016 Literature       09/20/2016   080/03007                                                                                    FALSE
M.D.                                                                Craig I. Coleman, Matthias Antz, Kevin
                                                        995.2016.1
                                                                    Bowrin, Thomas Evers, Edgar P. Simard,
                                                        237937
                                                                    Hendrik Bonnemeier & Riccardo Cappato

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                                                                                     Filed 02/10/17    of 76
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                                                                  Kramer, P. (2002). Percutaneous left atrial
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                              Literature     2016     Journal     8&ved=0ahUKEwj_5q2l8dDPAhUL9YMKHZX None                                         TRUE       Report citation
M.D.
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                                                                  .ema.europa.eu%2Fdocs%2Fen_GB%2Fdocu
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                                                                  non‐valvular atrial fibrillation patients
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                              Literature              Journal                                                      None                           TRUE       Report citation
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                                                                  Bellolio MF, McBane RD, Shah ND,
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                                                                                     Filed 02/10/17    of 76
                                                                                                    Page  32 of 76
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M.D.
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                                                                          *SEALED*             Page 33
                                                                                     Filed 02/10/17    of 76
                                                                                                    Page  33 of 76
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                                                                                                    Page  34 of 76
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                                                                          *SEALED*             Page 36
                                                                                     Filed 02/10/17    of 76
                                                                                                    Page  36 of 76
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                                                                  5399-16      Filed 02/10/17
                                                                          *SEALED*             Page 37
                                                                                     Filed 02/10/17    of 76
                                                                                                    Page  37 of 76
                                                                       Sammy Khatib, M.D.
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                                                                  J. N., Kalil, R. A., & Alexander, J. H. (2011).
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Khatib, Sammy,
                              Literature     2011     Journal     prosthetic heart valves: guidelines                 None                          TRUE       Report citation
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                              Literature     2013     Journal                                                         None                          TRUE       Report citation
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                                                                  patients with venous thromboembolism.
                                                                  The Patient-Patient-Centered Outcomes
                                                                  Research, 6(3), 213-224

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                                                                  world comparison of major bleeding risk
Khatib, Sammy,                                                    among non-valvular atrial fibrillation
               10/26/2016 Literature         2016                                                                                                  FALSE
M.D.                                                              patients initiated on apixaban, dabigatran,
                                                                  rivaroxaban, or warfarin. A propensity score
                                                                  matched analysis”

                                                                  Tamayo, S., Peacock, F.W., Patel, M.,
                                                                  Sicignano, N., Hopf, K.P., Fields, L.E., Sarich,
                                                                  T., Wu, S., Yannicelli, D. & Yuan, Z. (2015).
Khatib, Sammy,                                                    Characterizing major bleeding in patients
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                                                                          *SEALED*             Page 38
                                                                                     Filed 02/10/17    of 76
                                                                                                    Page  38 of 76
                                                                          Sammy Khatib, M.D.
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    Expert       Date Sent                                                      Document Description                 Bates Range                              Comments
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                                                                  Meta-Analysis of Efficacy and Safety of New
                                                                  Oral Anticoagulants
                                                                  (Dabigatran, Rivaroxaban, Apixaban) Versus
                                                                  Warfarin in Patients
Khatib, Sammy,                                          www.ajcon
               10/26/2016 Literature         2012                 With Atrial Fibrillation                                                        FALSE
M.D.                                                    line.org
                                                                  Corey S. Miller, BAa,c, Sonia M. Grandi,
                                                                  MSca, Avi Shimony, Da,b,d, Kristian B.
                                                                  Filion, PhDa, and Mark J. Eisenberg, MD,
                                                                  MPHa,b,c,
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                                                        /doi/suppl/
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Khatib, Sammy,                                          EJMoa1009
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M.D.                                                    638/suppl_
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                                                        file/nejmoa
                                                                     supplementary appendix. New England
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                                                                     Journal of Medicine, 365(10), 883-891.
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                                                                     Oral Anticoagulants in Patients With Atrial
                                                        http://circo
                                                                     Fibrillation
Khatib, Sammy,                                          utcomes.ah
               10/26/2016 Literature       05/21/2012                Sebastian Schneeweiss, MD, ScD; Joshua J.                                    FALSE
M.D.                                                    ajournals.o
                                                                     Gagne, PharmD, ScD; Amanda R. Patrick,
                                                        rg
                                                                     MS; Niteesh K. Choudhry, MD, PhD; Jerry
                                                                     Avorn, MD




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                                                                         *SEALED*             Page 39
                                                                                    Filed 02/10/17    of 76
                                                                                                   Page  39 of 76
                                                                        Sammy Khatib, M.D.
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                                                                    Indirect Comparisons of New Oral
                                                                    Anticoagulant Drugs
                                                       http://dx.d for Efficacy and Safety When Used for
Khatib, Sammy,                                         oi.org/10.1 Stroke Prevention in Atrial Fibrillation
               10/26/2016 Literature      03/16/2012                                                                                            FALSE
M.D.                                                   016/j.jacc.2 Gregory Y. H. Lip, MD,*† Torben Bjerregaard
                                                       012.03.019 Larsen, MD, PHD,†‡ Flemming Skjøth,
                                                                    PHD,†‡
                                                                    Lars Hvilsted Rasmussen, MD, PHD
                                                                    Comparative effectiveness and safety of
                                                                    non-vitamin K antagonist
                                                                    oral anticoagulants and warfarin in patients
                                                       http://dx.d
                                                                    with atrial fibrillation:
Khatib, Sammy,                                         oi.org/10.1
               10/26/2016 Literature      05/20/2016                propensity weighted nationwide cohort                                       FALSE
M.D.                                                   136/bmj.i3
                                                                    study
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                                                                    Torben Bjerregaard Larsen, Flemming
                                                                    Skjøth, Peter Brønnum Nielsen, Jette
                                                                    Nordstrøm Kjældgaard, Gregory Y H Lip
                                                                    Comparative effectiveness and safety of
                                                                    non-vitamin K antagonists oral
                                                                    anticoagulants (NOACs) and warfarin in
                                                                    daily clinical practice: A propensity
Khatib, Sammy,                                                      weighted nationwide cohort study.
               10/26/2016 Literature                                                                                                            FALSE
M.D.                                                                Supplementary material
                                                                    Torben Bjerregaard Larsen, MD, PhD,
                                                                    Flemming Skjøth, MSc, PhD, Peter Brønnum
                                                                    Nielsen, MSc, PhD, Jette Kjældgaard
                                                                    Nordstrøm, MSc, Gregory Y.H. Lip, MD




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                                                                                    Filed 02/10/17    of 76
                                                                                                   Page  40 of 76
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                                                                     Real-world comparison of major bleeding
                                                                     risk among non-valvular
                                                                     atrial fibrillation patients initiated on
                                                         http://dx.d
                                                                     apixaban, dabigatran,
Khatib, Sammy,                                           oi.org/10.1
               10/26/2016 Literature       08/19/2016                rivaroxaban, or warfarin A propensity score                                  FALSE
M.D.                                                     160/TH16-
                                                                     matched analysis
                                                         05-0403
                                                                     Gregory Y. H. Lip, Allison Keshishian; Shital
                                                                     Kamble; Xianying Pan; Jack Mardekian;
                                                                     Ruslan Horblyuk; Melissa Hamilton
                                                                    Stroke, Bleeding, and Mortality Risks in
                                                                    Elderly Medicare
                                                                    Beneficiaries Treated With Dabigatran or
                                                                    Rivaroxaban for
                                            Published
                                                                    Nonvalvular Atrial Fibrillation
                                          online October
                                                         http://jam David J. Graham, MD, MPH; Marsha E.
Khatib, Sammy,                                3, 2016.
               10/26/2016 Literature                     anetwork.c Reichman, PhD; Michael Wernecke, BA; Ya-                                      FALSE
M.D.                                       Corrected on
                                                         om         Hui Hsueh, PhD; Rima Izem, PhD; Mary Ross
                                           October 17,
                                                                    Southworth, PharmD; YuqinWei, MS; Jiemin
                                                2016
                                                                    Liao, MA; Margie R. Goulding, PhD; Katrina
                                                                    Mott, MHS; Yoganand Chillarige,MPA;
                                                                    Thomas E. MaCurdy, PhD; ChrisWorrall, BS;
                                                                    Jeffrey A. Kelman, MD, MMSc
                                                                    Stroke, bleeding, and mortality risks in
                                                                    elderly Medicare beneficiaries treated with
                                                         http://jam
Khatib, Sammy,                                                      dabigatran or rivaroxaban for onvalvular
               10/26/2016 Literature       10/03/2016    anetwork.c                                                                               FALSE
M.D.                                                                atrial fibrillation.
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                                                                    Graham DJ, Reichman ME, Wernecke M, et
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                                                                         *SEALED*             Page 41
                                                                                    Filed 02/10/17    of 76
                                                                                                   Page  41 of 76
                                                                        Sammy Khatib, M.D.
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                                                                   XANTUS: a real-world, prospective,
                                                                   observational study of patients treated with
                                                                   rivaroxaban for stroke prevention in atrial
                                                       http://eurh
                                                                   fibrillation
Khatib, Sammy,                                         eartj.oxfor
               10/26/2016 Literature      08/20/2015               A. John Camm, Pierre Amarenco, Sylvia                                       FALSE
M.D.                                                   djournals.o
                                                                   Haas, Susanne Hess, Paulus Kirchhof, Silvia
                                                       rg
                                                                   Kuhls, Martin van Eickels, and Alexander
                                                                   G.G. Turpie, on behalf of the XANTUS
                                                                   Investigators
                                                       http://ww
                                                       w.tandfonli
                                                                   Rates of major bleeding with rivaroxaban in
                                                       ne.com/act
                                                                   realworld studies of nonvalvular atrial
Khatib, Sammy,                                         ion/journal
               10/26/2016 Literature      03/02/2016               fibrillation patients: a meta-analysis                                      FALSE
M.D.                                                   Informatio
                                                                   Erin R. Weeda, C. Michael White, W. Frank
                                                       n?journalC
                                                                   Peacock & Craig I. Coleman
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                                                                   Major bleeding in a post-marketing
                                                                   assessment of 39,052 non-valvular atrial
                                                                   fibrillation patients on rivaroxaban
                                                                   W.F. Peacock, M. Patel, S. Tamayo, N.
                                                                   Sicignano4, K. Hopf, Z. Yuan, Baylor College
                                                       http://eurh of Medicine, Houston, United States of
Khatib, Sammy,                                         eartj.oxfor America; Duke University Health System,
               10/26/2016 Literature                                                                                                           FALSE
M.D.                                                   djournals.o Durham, United States of America; Naval
                                                       rg          Medical Center Portsmouth, Portsmouth,
                                                                   United States of America; Health
                                                                   ResearchTx, LLC, Trevose, United States of
                                                                   America; Janssen Research and
                                                                   Development,
                                                                   LLC, Titusville, United States of America




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                                                                         *SEALED*             Page 42
                                                                                    Filed 02/10/17    of 76
                                                                                                   Page  42 of 76
                                                                         Sammy Khatib, M.D.
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                                                                   Characterizing Major Bleeding in Patients
                                                                   With Nonvalvular Atrial Fibrillation: A
                                                                   Pharmacovigilance Study of 27 467 Patients
                                                                   Taking Rivaroxaban
                                                                   Sally Tamayo, MD; W. Frank Peacock, MD;
                                                                   Manesh Patel, MD; Nicholas Sicignano,
                                                                   MPH; Kathleen P. Hopf, MPH;
                                                                   Larry E. Fields, MD, MBA; Troy Sarich, PhD;
                                                                   Shujian Wu, MD, PhD; Daniel Yannicelli,
                                                                   MD; Zhong Yuan, MD, PhD
                                                                   Department of Cardiology (Tamayo), Naval
                                                                   Medical Center, Portsmouth, Virginia;
                                                                   Department of Emergency Medicine
                                                                   (Peacock),
                                                                   Baylor College of Medicine, Houston, Texas;
Khatib, Sammy,                                         wileyonline
               10/26/2016 Literature      11/22/2014               Department of Cardiology (Patel), Duke                                          FALSE
M.D.                                                   library.com
                                                                   University Health System and Duke Clinical
                                                                   Research Institute, Durham, North Carolina;
                                                                   Department of Clinical Epidemiology
                                                                   (Sicignano, Hopf), Health ResearchTx,
                                                                   Trevose,
                                                                   Pennsylvania; Department of US Medical
                                                                   Affairs (Fields, Yannicelli), Janssen Scientific
                                                                   Affairs, LLC, Raritan, New Jersey;
                                                                   Department of Real World Evidence
                                                                   (Sarich), Janssen Scientific Affairs, LLC,
                                                                   Titusville, New Jersey; Department of Global
                                                                   Medical
                                                                   Organization (Wu), Janssen Research and
                                                                   Development, LLC, Raritan, New Jersey;
                                                                   Department of Epidemiology (Yuan), Janssen




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                                                                         *SEALED*             Page 43
                                                                                    Filed 02/10/17    of 76
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                                                                    Risk Factors for Major Bleeding in
                                                                    Rivaroxaban Users With Atrial
                                                                    Fibrillation
                                                                    Ezequiel Munoz, MD
                                                       http://dx.d Gloria Iliescu, MD
Khatib, Sammy,                                         oi.org/10.1 Pimprapa Vejpongsa, MD
               10/26/2016 Literature      09/06/2016                                                                                            FALSE
M.D.                                                   016/j.jacc.2 Konstantinos Charitakis, MD
                                                       016.06.027 Kaveh Karimzad, MD
                                                                    Juan Lopez-Mattei, MD
                                                                    Syed Wamique Yusuf, MD
                                                                    Konstantinos Marmagkiolis, MD
                                                                    *Cezar Iliescu, MD
                                                                   Dabigatran versus Warfarin in Patients with
                                                                   Atrial Fibrillation
                                                                   Stuart J. Connolly, M.D., Michael D.
                                                                   Ezekowitz, M.B., Ch.B., D.Phil., Salim Yusuf,
                                                                   F.R.C.P.C., D.Phil., John Eikelboom, M.D.,
                                                                   Jonas Oldgren, M.D., Ph.D., Amit Parekh,
                                                                   M.D., Janice Pogue, M.Sc., Paul A. Reilly,
Khatib, Sammy,
               10/26/2016 Literature      09/17/2009   nejm.org    Ph.D., Ellison Themeles, B.A., Jeanne                                        FALSE
M.D.
                                                                   Varrone, M.D., Susan Wang, Ph.D., Marco
                                                                   Alings, .D., Ph.D., Denis Xavier, M.D., Jun
                                                                   Zhu, M.D., Rafael Diaz, M.D., Basil S. Lewis,
                                                                   M.D., Harald Darius, M.D., Hans-Christoph
                                                                   Diener, M.D., Ph.D., Campbell D. Joyner,
                                                                   M.D., Lars Wallentin, M.D., Ph.D., and the
                                                                   RE-LY Steering Committee and Investigators




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                                                                          *SEALED*             Page 44
                                                                                     Filed 02/10/17    of 76
                                                                                                    Page  44 of 76
                                                                         Sammy Khatib, M.D.
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                                                                    Supplementary-Dabigatran Compared to
                                                                    Warfarin in Patients with Atrial Fibrillation
                                                                    Stuart J. Connolly, M.D.a, Michael D.
                                                                    Ezekowitz, M.B., Ch.B., D.Phil.b, Salim
                                                                    Yusuf, F.R.C.P.C., D.Phil.a, John Eikelboom,
                                                                    M.D.a, Jonas Oldgren, M.D., Ph.D.d, Amit
                                                                    Parekh, M.D.b, Janice Pogue, M.Sc.a, Paul
Khatib, Sammy,                                                      A. Reilly, Ph.D.c, Ellison Themelesa, Jeanne
               10/26/2016 Literature       11/29/2010                                                                                            FALSE
M.D.                                                                Varrone, M.D.c, Susan Wang, Ph.D.c, Marco
                                                                    Alings, M.D., Ph.D.e, Denis Xavier, M.D.f,
                                                                    Jun Zhu, M.D.g, Rafael Diaz, M.D.h, Basil
                                                                    Lewis, M.D.i, Harald Darius, M.D.j, Hans-
                                                                    Christoph Diener, M.D., Ph.D.k, Campbell D.
                                                                    Joyner, M.D.l, Lars Wallentin, M.D., Ph.D.d,
                                                                    the RELY Steering Committee and RELY
                                                                    investigators

                                                                     Effectiveness and Safety of Dabigatran,
                                                                     Rivaroxaban, and Apixaban
                                                                     Versus Warfarin in Nonvalvular Atrial
                                                        http://jaha. Fibrillation
Khatib, Sammy,
               10/26/2016 Literature       05/13/2016   ahajournal Xiaoxi Yao, PhD; Neena S. Abraham, MD,                                        FALSE
M.D.
                                                        s.org        MSCE; Lindsey R. Sangaralingham, MPH; M.
                                                                     Fernanda Bellolio, MD, MS; Robert D.
                                                                     McBane, MD; Nilay D. Shah, PhD; Peter A.
                                                                     Noseworthy, MD
                                                                     Strum, W. B., & Powell, J. R. (2016). Point-of-
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                              Literature     2016       Journal      Care Warfarin Monitoring in the ROCKET AF None                               TRUE       Report citation
M.D.
                                                                     Trial, N. Engl. J. Med., 375(4), 390-391




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                                                                         *SEALED*             Page 45
                                                                                    Filed 02/10/17    of 76
                                                                                                   Page  45 of 76
                                                                        Sammy Khatib, M.D.
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                                                                   Apixaban versus Warfarin in Patients with
                                                                   Atrial Fibrillation
                                                                   Christopher B. Granger, M.D., John H.
                                                                   Alexander, M.D., M.H.S., John J.V.
                                                                   McMurray, M.D., Renato D. Lopes, M.D.,
                                                                   Ph.D., Elaine M. Hylek, M.D., M.P.H.,
                                                                   Michael Hanna, M.D., Hussein R. Al-Khalidi,
                                                                   Ph.D., Jack Ansell, M.D., Dan Atar, M.D.,
                                                                   Alvaro Avezum, M.D., Ph.D., M. Cecilia
                                                                   Bahit, M.D., Rafael Diaz, M.D., J. Donald
                                                                   Easton, M.D., Justin A. Ezekowitz, M.B.,
Khatib, Sammy,                                                     B.Ch., Greg Flaker, M.D., David Garcia, M.D.,
               10/26/2016 Literature      09/15/2011   nejm.org                                                                               FALSE
M.D.                                                               Margarida Geraldes, Ph.D., Bernard J.
                                                                   Gersh, M.D., Sergey Golitsyn, M.D., Ph.D.,
                                                                   Shinya Goto, M.D., Antonio G. Hermosillo,
                                                                   M.D.,Stefan H. Hohnloser, M.D., John
                                                                   Horowitz, M.D., Puneet Mohan, M.D.,
                                                                   Ph.D., Petr Jansky, M.D., Basil S. Lewis,
                                                                   M.D., Jose Luis Lopez-Sendon, M.D., Prem
                                                                   Pais, M.D., Alexander Parkhomenko, M.D.,
                                                                   Freek W.A. Verheugt, M.D., Ph.D., Jun Zhu,
                                                                   M.D., and Lars Wallentin, M.D., Ph.D., for
                                                                   the ARISTOTLE Committees and
                                                                   Investigators
                                                                   Gosselin, R. C., & Adcock, D. M. (2016). The
                                                                   laboratory's 2015 perspective on direct oral
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M.D.
                                                                   Thrombosis and Haemostasis, 14(5), 886-
                                                                   893.




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                                                                          *SEALED*             Page 46
                                                                                     Filed 02/10/17    of 76
                                                                                                    Page  46 of 76
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                                                                  Testa, S., Legnani, C., Tripodi, A., Paoletti,
                                                                  O., Pengo, V., Abbate, R., ... & Poli, D.
                                                                  (2016). Poor comparability of coagulation
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M.D.                                                              patients on direct oral anticoagulants:
                                                                  Results from a multicenter/multiplatform
                                                                  study. Journal of Thrombosis and
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                                                                  Patel, M. R., Hellkamp, A. S., & Fox, K. A.
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                              Literature     2016     Journal                                                   None                           TRUE       Report citation
M.D.                                                              the ROCKET AF trial. New England Journal of
                                                                  Medicine, 374(8), 785-788
                                                                  Kirchhof, P., Benussi, S., Kotecha, D.,
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M.D.                                                              Guidelines for the management of atrial
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M.D.                      Records                                                                                H-1-351
                                                                  iovascularInstituteoftheSouthHouma_00000                                                    2014-2016
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Khatib, Sammy,            Medical                                                                        JBoudreaux-
               10/31/2016                  5/31/16    Provider    750002_054_001_BoudreauxJrJosephJ_Acad                                          FALSE       approximately:
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Khatib, Sammy,            Medical                                                                          JBoudreaux-CIS-
               10/31/2016                  6/21/16    Provider    750002_025_002_BoudreauxJrJosephJ_Card                                          FALSE       approximately:
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Khatib, Sammy,            Medical                               Houma,                                    JBoudreaux-CIS-
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Khatib, Sammy,            Medical                               Duplantis,                             JBoudreaux-                                     Certificate of
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Khatib, Sammy,            Medical                                                                         JBoudreaux-                                      Certificate of no
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Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr – PPR 3751-                                            Date range
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M.D.                      Records                      Produced    4500.pdf                                                                                approximately:
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Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr – PPR 2251-                                            Date range
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M.D.                      Records                      Produced    3000.pdf                                                                                approximately:
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Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr – PPR 1501-                                            Date range
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Khatib, Sammy,            Medical                                  Eye Surgery Center of Louisiana, SOrr - Eye
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Khatib, Sammy,            Medical                                  HCA Patient Account Services – Billing, SOrr -
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                                         02/23/2016;               Kenner Regional / Ochsner Medical Center- SOrr-KennerR-                                   Date range
Khatib, Sammy,            Medical
               10/31/2016                04/27/2016;   Provider    Kenner, SOrr - Kenner Regional (med, billing 000001 –                         FALSE       approximately:
M.D.                      Records
                                          04/29/2016               & radiology).pdf                               000233                                     2013-2015
                                                                                                                  SOrr-
                                                                                                                                                             Date range
Khatib, Sammy,            Medical                                  LabCorp of America – Billing, SOrr - Lab       LabCorpAm-BD-
               10/31/2016                  3/31/16     Provider                                                                                  FALSE       approximately:
M.D.                      Records                                  Corp of America (billing).pdf                  000001 –
                                                                                                                                                             2013-2014
                                                                                                                  000015
                                                                                                                  SOrr-
                                                                                                                                                             Date range
Khatib, Sammy,            Medical                                  LabCorp of America – Medicals, SOrr - Lab      LabCorpAmer-
               10/31/2016                  3/25/16     Provider                                                                                  FALSE       approximately:
M.D.                      Records                                  Corp of America (medical).pdf                  MD-000001 –
                                                                                                                                                             2013-2014
                                                                                                                  000017
                                                                                                                  Orr-JLindsey-                              Date range
Khatib, Sammy,            Medical        05/31/2016;               Lindsey, John T., M.D., SOrr - Lindsey, John,
               10/31/2016                              Provider                                                   000001 –                       FALSE       approximately:
M.D.                      Records         06/06/2016               M.D..pdf
                                                                                                                  000030                                     2014-2015

                                                                                                                                                             SOrr-RJLousteau-
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                                                                                                                                                             000001 – 000007
Khatib, Sammy,            Medical                                  Lousteau, Ray Joseph, M.D., SOrr -            RJLousteau-
               10/31/2016                  9/2/16      Provide                                                                                   FALSE       Date range
M.D.                      Records                                  Lousteau, Ray, M.D.pdf                        000001 –
                                                                                                                                                             approximately:
                                                                                                                 000007
                                                                                                                                                             2012-2013

                                                                   McNulty, Michael, M.D. - Southern             SOrr-MMcNulty-                              Date range
Khatib, Sammy,            Medical
               10/31/2016                  5/23/16     Provider    Orthopaedic Specialists, SOrr - McNulty,      000001 –                        FALSE       approximately:
M.D.                      Records
                                                                   Michael, M.D.pdf                              000022                                      2010-2011
                                                                                                                SOrr-PPR-
Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr – PPR 3001-                                              Date range
               10/31/2016                  1/20/16                                                              003001 –                         FALSE
M.D.                      Records                      Produced    3750.pdf                                                                                  approximately:
                                                                                                                003750




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                           Case 2:14-md-02592-EEF-MBN      Document
                                                       Document      5399-16
                                                                5399-16      Filed 02/10/17
                                                                        *SEALED*             Page 56
                                                                                   Filed 02/10/17    of 76
                                                                                                  Page  56 of 76
                                                                        Sammy Khatib, M.D.
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Khatib, Sammy,            Medical                                  Ochsner Baptist Medical Center – Medicals,
               10/31/2016                  4/12/16     Provider                                               000001 –                          FALSE       approximately:
M.D.                      Records                                  SOrr - Ochsner Baptist (medical).pdf
                                                                                                              0001123                                       2014-2015
                                                                                                              SOrr-OMC-BD-                                  Date range
Khatib, Sammy,            Medical                                  Ochsner Medical Center – Billing, SOrr -
               10/31/2016                  4/5/16      Provider                                               000001 –                          FALSE       approximately:
M.D.                      Records                                  Ochsner Medical Center (billingl).pdf
                                                                                                              000018                                        2015
                                                                                                              SOrr-OMC-MD-                                  Date range
Khatib, Sammy,            Medical                                  Ochsner Medical Center – Medicals, SOrr -
               10/31/2016                  3/4/16      Provider                                               000001 –                          FALSE       approximately:
M.D.                      Records                                  Ochsner Medical Center (medical) 1-750.pdf
                                                                                                              000750                                        2015
                                                                   Ochsner Medical Center – Medicals, SOrr - SOrr-OMC-MD-                                   Date range
Khatib, Sammy,            Medical
               10/31/2016                  3/4/16      Provider    Ochsner Medical Center (medical) 751-        000751 –                        FALSE       approximately:
M.D.                      Records
                                                                   1500.pdf                                     001500                                      2015
                                                                   Ochsner Medical Center – Medicals, SOrr - SOrr-OMC-MD-                                   Date range
Khatib, Sammy,            Medical
               10/31/2016                  3/4/16      Provider    Ochsner Medical Center (medical) 1501-       0001501 –                       FALSE       approximately:
M.D.                      Records
                                                                   2250.pdf                                     002250                                      2015
                                                                   Ochsner Medical Center – Medicals, SOrr - SOrr-OMC-MD-                                   Date range
Khatib, Sammy,            Medical
               10/31/2016                  3/4/16      Provider    Ochsner Medical Center (medical) 2251-       002251 –                        FALSE       approximately:
M.D.                      Records
                                                                   2979.pdf                                     002979                                      2015
                                         03/16/2016;               Ochsner Medical Center (Radiology            SOrr-OMC-RD-                                Date range
Khatib, Sammy,            Medical
               10/31/2016                08/03/2016;   Provider    Department), SOrr - Ochsner Medical          000001 –                        FALSE       approximately:
M.D.                      Records
                                          08/08/2016               Center (radiology).pdf                       000004                                      2015
                                                                   Ochsner Medical Center Alton Ochsner
                                                                                                                                                            Date range
Khatib, Sammy,            Medical                                  Medical Foundation (Pathology                SOrr-OMC-PD-
               10/31/2016                  3/1/16      Provider                                                                                 FALSE       approximately:
M.D.                      Records                                  Department), SOrr - Ochsner Medical          000001
                                                                                                                                                            2014
                                                                   Center (pathology).pdf
                                                                   Our Lady of the Lake Regional Medical        SOrr-OLLRMC-                                Date range
Khatib, Sammy,            Medical
               10/31/2016                  1/20/16     Provider    Center, SOrr - Our Lady of the Lake Regional MD-000001 –                     FALSE       approximately:
M.D.                      Records
                                                                   (medical).pdf                                000003                                      2005-2007
Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr - PPR 1-    DSOrr - PPR 1-                              Date range
               10/31/2016                  1/20/16                                                                                              FALSE
M.D.                      Records                      Produced    750.pdf                                      750                                         approximately:
                                                                                                                SOrr-PPR-
Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr - PPR 751-                                              Date range
               10/31/2016                  1/20/16                                                              004068 –                        FALSE
M.D.                      Records                      Produced    1500.pdf                                                                                 approximately:
                                                                                                                004071




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                           Case 2:14-md-02592-EEF-MBN      Document
                                                       Document      5399-16
                                                                5399-16      Filed 02/10/17
                                                                        *SEALED*             Page 57
                                                                                   Filed 02/10/17    of 76
                                                                                                  Page  57 of 76
                                                                        Sammy Khatib, M.D.
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Khatib, Sammy,            Medical                                  Ochsner Baptist Medical Center – Billing,
               10/31/2016                  4/12/16     Provider                                                 000001 –                       FALSE       approximately:
M.D.                      Records                                  SOrr - Ochsner Baptist (billing).pdf
                                                                                                                000018                                     2014
                                                                                                                SOrr-PPR-
Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr – PPR 6243-                                            Date range
               10/31/2016                  3/24/16                                                              006243 –                       FALSE
M.D.                      Records                      Produced    6259.pdf                                                                                approximately:
                                                                                                                006259
                                                                   Tulane Hospital (Medical Records             SOrr-TulaneH-                              Date range
Khatib, Sammy,            Medical        03/04/2016;
               10/31/2016                              Provider    Department), SOrr - Tulane Hospital          MD-000001 –                    FALSE       approximately:
M.D.                      Records         06/09/2016
                                                                   (medical).pdf                                000589                                     1997-2015
                                                                                                                SOrr-PPR-
Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr – PPR 4501-                                            Date range
               10/31/2016                  1/20/16                                                              004501 –                       FALSE
M.D.                      Records                      Produced    5250.pdf                                                                                approximately:
                                                                                                                005250
                                                                                                                SOrr-PPR-
Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr – PPR 5251-                                            Date range
               10/31/2016                  1/20/16                                                              005251 –                       FALSE
M.D.                      Records                      Produced    5713.pdf                                                                                approximately:
                                                                                                                005713
                                                                                                                SOrr-PPR-
Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr – PPR 5714-                                            Date range
               10/31/2016                  1/25/16                                                              005714 –                       FALSE
M.D.                      Records                      Produced    5786.pdf                                                                                approximately:
                                                                                                                005786
                                                                                                                SOrr-PPR-
Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr – PPR 5787-                                            Date range
               10/31/2016                  2/2/16                                                               005787 –                       FALSE
M.D.                      Records                      Produced    5913.pdf                                                                                approximately:
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                                                                                                                SOrr-PPR-
Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr – PPR 5914-                                            Date range
               10/31/2016                  2/8/16                                                               005914 –                       FALSE
M.D.                      Records                      Produced    5997.pdf                                                                                approximately:
                                                                                                                005997
                                                                                                                                                           Date range
Khatib, Sammy,            Medical                                  Tulane Hospital (Radiology Department),     SOrr-TulaneH-
               10/31/2016                  5/2/16      Provider                                                                                FALSE       approximately:
M.D.                      Records                                  SOrr - Tulane Hospital (radiology).pdf      RD-000001
                                                                                                                                                           2008-2014
                                                                                                                SOrr-PPR-
Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr – PPR 6215-                                            Date range
               10/31/2016                  3/18/16                                                              006215 –                       FALSE
M.D.                      Records                      Produced    6242.pdf                                                                                approximately:
                                                                                                                006242
                                                                   Tulane University Hospital and Clinic
                                                                                                                                                           Date range
Khatib, Sammy,            Medical                                  (Pathology Department), SOrr - Tulane        SOrr-TUHC-PD-
               10/31/2016                  6/30/16     Provider                                                                                FALSE       approximately:
M.D.                      Records                                  University Hospand Clinic (pathology         000001
                                                                                                                                                           2005
                                                                   inventory).pdf




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                           Case 2:14-md-02592-EEF-MBN      Document
                                                       Document      5399-16
                                                                5399-16      Filed 02/10/17
                                                                        *SEALED*             Page 58
                                                                                   Filed 02/10/17    of 76
                                                                                                  Page  58 of 76
                                                                        Sammy Khatib, M.D.
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Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr – PPR 6260-                                              Date range
               10/31/2016                  3/25/16                                                              006260 –                         FALSE
M.D.                      Records                      Produced    6288.pdf                                                                                  approximately:
                                                                                                                006288
                                                                                                                SOrr-PPR-
Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr – PPR 6289-                                              Date range
               10/31/2016                  5/2/16                                                               006289 –                         FALSE
M.D.                      Records                      Produced    6311.pdf                                                                                  approximately:
                                                                                                                006311
                                                                                                                                                             Date range
Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr – PPR 6312- SOrr-PPR-
               10/31/2016                  10/6/16                                                                                               FALSE       approximately:
M.D.                      Records                      Produced    6313.pdf                                     006312-006313
                                                                                                                                                             2015
                                         02/29/2016;
                                         08/01/2016;                                                            SOrr-TI-RD-                                  Date range
Khatib, Sammy,            Medical                                  Touro Infirmary (Radiology Department),
               10/31/2016                08/08/2016;   Provider                                                 000001 –                         FALSE       approximately:
M.D.                      Records                                  SOrr - Tulane Infirmary (radiology).pdf
                                         08/09/2016;                                                            000016                                       2013-2014
                                          08/25/2016
                                                                                                                 SOrr-QD-LA-                                 Date range
Khatib, Sammy,            Medical                                  Quest Diagnostics, Inc., SOrr - Quest
               10/31/2016                  2/24/16     Provider                                                  000001 –                        FALSE       approximately:
M.D.                      Records                                  Diagnostics.pdf
                                                                                                                 000012                                      2015
                                                                                                                 SOrr-TI -BD-                                Date range
Khatib, Sammy,            Medical                                  Touro Infirmary (Patient Accounts), SOrr -
               10/31/2016                  3/1/16      Provider                                                  000001 –                        FALSE       approximately:
M.D.                      Records                                  Tulane Infirmary (billing).pdf
                                                                                                                 000009                                      2013-2014
                                                                   Quest Diagnostics-Southwest (Patient          SOrr-QDS-                                   Date range
Khatib, Sammy,            Medical
               10/31/2016                  2/29/16     Provider    Billing), SOrr - Quest Diagnostics Southwest 000001 –                         FALSE       approximately:
M.D.                      Records
                                                                   (billing).pdf                                 000013                                      2015
                                                                                                                 SOrr-SAScalco-                              Date range
Khatib, Sammy,            Medical          6/6/16;                 Scalco, Steven A., MD, SOrr - Scalco, Steven,
               10/31/2016                              Provider                                                  000001 –                        FALSE       approximately:
M.D.                      Records          6/10/16                 M.D.pdf
                                                                                                                 000003                                      2014
                                         02/10/2016;
                                                                                                                SOrr-SHVC-                                   Date range
Khatib, Sammy,            Medical        02/16/2016;               Singer Haley Vision Center, SOrr - Singer
               10/31/2016                              Provider                                                 000001 –                         FALSE       approximately:
M.D.                      Records        03/28/2016;               Haley Vision.pdf
                                                                                                                000099                                       2013-2015
                                          08/25/2016
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Khatib, Sammy,            Medical                                  Touro Infirmary (Pathology Department),
               10/31/2016                  3/7/16      Provider                                                 000001 –                         FALSE       approximately:
M.D.                      Records                                  SOrr - Tulane Infirmary (pathology).pdf
                                                                                                                000006                                       2014
                                                                                                                SOrr-PPR-
Khatib, Sammy,            Medical                      Plaintiff   Plaintiff Produced Records, SOrr – PPR 5998-                                              Date range
               10/31/2016                  2/24/16                                                              005998 –                         FALSE
M.D.                      Records                      Produced    6214.pdf                                                                                  approximately:
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                             Case 2:14-md-02592-EEF-MBN      Document
                                                         Document      5399-16
                                                                  5399-16      Filed 02/10/17
                                                                          *SEALED*             Page 59
                                                                                     Filed 02/10/17    of 76
                                                                                                    Page  59 of 76
                                                                          Sammy Khatib, M.D.
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Khatib, Sammy,            Medical                                    Tulane Hospital (Patient Accounts) – Billing,                                             000111Date
               10/31/2016                    4/11/16     Provider                                                  BD-000001 –                     FALSE
M.D.                      Records                                    SOrr - Tulane Hospital (billing).pdf                                                      range
                                                                                                                   000111
                                                                                                                                                               approximately:
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                                                                                                               SOrr-
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Khatib, Sammy,            Medical          03/01/2016;               Cummings, Terry, M.D., SOrr -             TCummings-
               10/31/2016                                Provider                                                                                  FALSE       approximately:
M.D.                      Records           03/21/2016               Cummings,Terry, M.D..pdf                  000001 –
                                                                                                                                                               2008-2014
                                                                                                               000067
                                                                                                               JBoudreaux-
                                                                                                               OStAGH-MD-11,
                                                                     Ochsner Medical Center St. Anne Medicals, 13-14, 16, 29-
                                                                     partial of                                33, 54-55, 58 -                                 Date range
Khatib, Sammy,             Medical
                 11/4/2016                  2/10/2016    Provider    750002_008_001_BoudreauxJrJosephJ_Ochs 59, 62-64, 70,                         FALSE       approximately:
M.D.                       Records
                                                                     nerStAnneGeneralHospMedRecsDept_0000 73-74, 111-112,                                      2014
                                                                     0001_00000750.pdf                         115, 250-252,
                                                                                                               267-268, 270,
                                                                                                               275, 307-309
                                                                                                                                                               Date range
Khatib, Sammy,            Medical                        Plaintiff   Plaintiff Produced Records (Providers       SOrr - PPR 6314-
               10/31/2016                   10/12/16                                                                                               FALSE       approximately:
M.D.                      Records                        Produced    Various), SOrr - PPR 6314-6323.pdf          6323
                                                                                                                                                               2015
                                                                                                                 SOrr-UH-                                      Date range
Khatib, Sammy,            Medical                                    United Healthcare, SOrr - United
               10/31/2016                    8/5/16      Provider                                                000001 –                          FALSE       approximately:
M.D.                      Records                                    Healthcare.pdf
                                                                                                                 000358                                        2010-2014
                                                                     Tulane University Hospital and Clinic
                                           07/06/2016;                                                      SOrr-TUHC-RD-                                      Date range
Khatib, Sammy,            Medical                                    (Radiology Department), SOrr - Tulane
               10/31/2016                  08/23/2016;   Provider                                           000001 –                               FALSE       approximately:
M.D.                      Records                                    University Hospand Clinic (radiology
                                            08/24/2016                                                      000045                                             2008-2015
                                                                     inventory).pdf
                                                                     Ochsner Medical Center Kenner Billing,
                                                                                                                                                               Date range
Khatib, Sammy,            Medical                                    750002_014_001_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016                    2/3/16      Provide                                                                                   FALSE       approximately:
M.D.                      Records                                    nerMedCtrKennerPatientAccts_00000001_0 OMC-K-BD-1-11
                                                                                                                                                               2014-2015
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                           Case 2:14-md-02592-EEF-MBN      Document
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                                                                5399-16      Filed 02/10/17
                                                                        *SEALED*             Page 60
                                                                                   Filed 02/10/17    of 76
                                                                                                  Page  60 of 76
                                                                     Sammy Khatib, M.D.
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                                                                Danilyants, Eduard M.D. - Touro Infirmary   SOrr-TI-MD-                               Date range
Khatib, Sammy,            Medical
               10/31/2016                 3/1/16    Provider    (Medical Records Department), SOrr -        000001 –                      FALSE       approximately:
M.D.                      Records
                                                                Tulane Infirmary (medical).pdf              000199                                    2011-2014
                                                                Ochsner Medical Center Main Campus
                                                                Radiology,                                                                            Date range
Khatib, Sammy,            Medical                                                                      JBoudreaux-
               10/31/2016                7/22/16    Provider    750002_049_003_BoudreauxJrJosephJ_Ochs                                    FALSE       approximately:
M.D.                      Records                                                                      OMC-RD-4-11
                                                                nerMedCtrRadDept_00000004_00000011.p                                                  2014-2015
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                                                                Ochsner Medical Center Main Campus
                                                                Radiology,                                                                            Date range
Khatib, Sammy,            Medical                                                                      JBoudreaux-
               10/31/2016                7/25/16    Provider    750002_049_004_BoudreauxJrJosephJ_Ochs                                    FALSE       approximately:
M.D.                      Records                                                                      OMC-RD-12
                                                                nerMedCtrRadDept_00000012_00000012.p                                                  2014-2015
                                                                df
                                                                Ochsner Medical Center Main Campus
                                                                Pathology,                                                                            Certificate of no
Khatib, Sammy,            Medical                                                                      JBoudreaux-
               10/31/2016                3/14/16    Provider    750002_050_001_BoudreauxJrJosephJ_Ochs                                    FALSE       pathology
M.D.                      Records                                                                      OMC-PD-1
                                                                nerMedCtrPathDept_00000001_00000001.p                                                 records.
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                                                                Ochsner Medical Center St. Anne Radiology,
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Khatib, Sammy,            Medical                               750002_010_001_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016                 2/4/16    Provider                                                                              FALSE       approximately:
M.D.                      Records                               nerStAnneGeneralHospRadDept_00000001_ OStAGH-RD-1-2
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                                                                00000002.pdf

                                                                Ochsner Medical Center St. Anne Radiology,
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Khatib, Sammy,            Medical                               750002_010_002_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016                 8/9/16    Provider                                                                              FALSE       approximately:
M.D.                      Records                               nerStAnneGeneralHospRadDept_00000003_ OStAGH-RD-3-12
                                                                                                                                                      2014-2015
                                                                00000012.pdf

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Khatib, Sammy,            Medical                               750002_010_003_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016                 8/9/16    Provider                                                                              FALSE       approximately:
M.D.                      Records                               nerStAnneGeneralHospRadDept_00000013_ OStAGH-RD-13
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                                                                5399-16      Filed 02/10/17
                                                                        *SEALED*             Page 61
                                                                                   Filed 02/10/17    of 76
                                                                                                  Page  61 of 76
                                                                    Sammy Khatib, M.D.
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                                                                Ochsner Medical Center St. Anne Pathology,
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Khatib, Sammy,            Medical                               750002_011_001_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016                2/29/16    Provider                                                                            FALSE       approximately:
M.D.                      Records                               nerStAnneGeneralHospPathDept_00000001 OStAGH-PD-1
                                                                                                                                                    2015
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                                                                Ochsner Medical Center St. Anne Medicals,
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Khatib, Sammy,            Medical                               750002_039_001_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016                2/10/16    Provider                                                                            FALSE       approximately:
M.D.                      Records                               nerStAnneMedClinic_00000001_00000280.p OStAMC-1-280
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                                                                Ochsner Medical Center Main Campus
                                                                Radiology,                                                                          Date range
Khatib, Sammy,            Medical                                                                      JBoudreaux-
               10/31/2016                3/16/16    Provider    750002_049_001_BoudreauxJrJosephJ_Ochs                                  FALSE       approximately:
M.D.                      Records                                                                      OMC-RD-1-2
                                                                nerMedCtrRadDept_00000001_00000002.p                                                2015
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                                                                Ochsner Medical Center Kenner Medicals,
                                                                                                        JBoudreaux-                                 Date range
Khatib, Sammy,            Medical                               750002_013_001_BoudreauxJrJosephJ_Ochs
               10/31/2016                 2/3/16    Provider                                            OMC-K-MD-1-                     FALSE       approximately:
M.D.                      Records                               nerMedCtrKennerMedRecsDept_00000001_
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                                                                Ochsner Medical Center Main Campus
                                                                Billing,                                                                            Date range
Khatib, Sammy,            Medical                                                                      JBoudreaux-
               10/31/2016                4/12/16    Provider    750002_048_001_BoudreauxJrJosephJ_Ochs                                  FALSE       approximately:
M.D.                      Records                                                                      OMC-BD-1-3
                                                                nerMedCtrPatientAccts_00000001_0000000                                              2009-2013
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Khatib, Sammy,            Medical                               750002_015_001_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016                 2/2/16    Provider                                                                            FALSE       approximately:
M.D.                      Records                               nerMedCtrKennerRadDept_00000001_0000 OMC-K-RD-1-2
                                                                                                                                                    2014
                                                                0002.pdf

                                                                Ochsner Medical Center St. Anne Medicals,
                                                                                                          JBoudreaux-                               Date range
Khatib, Sammy,            Medical                               750002_008_001_BoudreauxJrJosephJ_Ochs
               10/31/2016                2/10/16    Provider                                              OStAGH-MD-1-                  FALSE       approximately:
M.D.                      Records                               nerStAnneGeneralHospMedRecsDept_0000
                                                                                                          750                                       2014-2015
                                                                0001_00000750.pdf




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                                                                5399-16      Filed 02/10/17
                                                                        *SEALED*             Page 62
                                                                                   Filed 02/10/17    of 76
                                                                                                  Page  62 of 76
                                                                    Sammy Khatib, M.D.
                                                                     Reliance Material
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    Expert     Date Sent                                                 Document Description              Bates Range                                  Comments
                              Category   Document   Document                                                              Protective   Available
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                                                                Ochsner Medical Center St. Anne Medicals,
                                                                                                          JBoudreaux-                               Date range
Khatib, Sammy,            Medical                               750002_008_001_BoudreauxJrJosephJ_Ochs
               10/31/2016                2/10/16    Provider                                              OStAGH-MD-                    FALSE       approximately:
M.D.                      Records                               nerStAnneGeneralHospMedRecsDept_0000
                                                                                                          751-982                                   2012-2015
                                                                0751_00000982.pdf

                                                                Ochsner Medical Center St. Anne Medicals,
                                                                                                          JBoudreaux-                               Certificate of
Khatib, Sammy,            Medical                               750002_008_002_BoudreauxJrJosephJ_Ochs
               10/31/2016                2/17/16    Provider                                              OStAGH-MD-                    FALSE       medical records
M.D.                      Records                               nerStAnneGeneralHospMedRecsDept_0000
                                                                                                          983                                       received.
                                                                0983_00000983.pdf

                                                                Ochsner Medical Center St. Anne Billing,
                                                                                                                                                    Date range
Khatib, Sammy,            Medical                               750002_009_001_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016                2/10/16    Provider                                                                            FALSE       approximately:
M.D.                      Records                               nerStAnneGeneralHospPatientAccts_000000 OStAGH-BD-1-68
                                                                                                                                                    2009-2016
                                                                01_00000068.pdf

                                                                Ochsner Medical Center St. Anne Billing,
                                                                                                                                                    Certificate of
Khatib, Sammy,            Medical                               750002_009_002_BoudreauxJrJosephJ_Ochs JBoudreaux-
               10/31/2016                2/17/16    Provider                                                                            FALSE       billing records
M.D.                      Records                               nerStAnneGeneralHospPatientAccts_000000 OStAGH-BD-69
                                                                                                                                                    received.
                                                                69_00000069.pdf
                                                                Ochsner Medical Center St. Anne,
                                                                                                       JBoudreaux-                                  Date range
Khatib, Sammy,            Medical                               750002_055_001_BoudreauxJrJosephJ_Ochs
               10/31/2016                 5/9/16    Provider                                           OStAFDC-M-1-                     FALSE       approximately:
M.D.                      Records                               nerStAnneFamilyDrClinicMathews_0000000
                                                                                                       493                                          2014-2016
                                                                1_00000493.pdf
                                                                Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                   Plaintiff   Various),                               JBoudreaux-                                 Date range
               10/31/2016                 3/7/16                                                                                        FALSE
M.D.                      Records                   Produced    750002_003_005_BoudreauxJrJosephJ_Plain PPR-3962-3965                               approximately:
                                                                tiffProducedRecs_00003962_00003965.pdf

                                                                Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                   Plaintiff   Various),                               JBoudreaux-                                 Date range
               10/31/2016                7/20/16                                                                                        FALSE
M.D.                      Records                   Produced    750002_003_011_BoudreauxJrJosephJ_Plain PPR-5234-5287                               approximately:
                                                                tiffProducedRecs_00005234_00005287.pdf




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                                                                5399-16      Filed 02/10/17
                                                                        *SEALED*             Page 63
                                                                                   Filed 02/10/17    of 76
                                                                                                  Page  63 of 76
                                                                    Sammy Khatib, M.D.
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                              Category   Document   Document                                                             Protective   Available
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                                                                Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                   Plaintiff   Various),                               JBoudreaux-                                Date range
               10/31/2016                3/24/16                                                                                       FALSE
M.D.                      Records                   Produced    750002_003_007_BoudreauxJrJosephJ_Plain PPR-3967-4484                              approximately:
                                                                tiffProducedRecs_00003967_00004484.pdf

                                                                Ochsner Medical Center St. Anne Medicals,
                                                                                                          JBoudreaux-
Khatib, Sammy,            Medical                               750002_039_002_BoudreauxJrJosephJ_Ochs                                             Certification of
               10/31/2016                2/17/16    Provider                                              OStAMC-281-                  FALSE
M.D.                      Records                               nerStAnneMedClinic_00000281_00000282.p                                             medical records
                                                                                                          282
                                                                df
                                                                Ochsner Medical Center Main Campus
                                                                Radiology,                                                                         Date range
Khatib, Sammy,            Medical                                                                      JBoudreaux-
               10/31/2016                7/22/16    Provider    750002_049_002_BoudreauxJrJosephJ_Ochs                                 FALSE       approximately:
M.D.                      Records                                                                      OMC-RD-3
                                                                nerMedCtrRadDept_00000003_00000003.p                                               2014-2015
                                                                df
                                                                Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                   Plaintiff   Various),                               JBoudreaux-                                Date range
               10/31/2016                1/20/16                                                                                       FALSE
M.D.                      Records                   Produced    750002_003_001_BoudreauxJrJosephJ_Plain PPR-751-1500                               approximately:
                                                                tiffProducedRecs_00000751_00001500.pdf

                                                                Medicare/Medicaid,
Khatib, Sammy,            Medical                               750002_036_001_BoudreauxJrJosephJ_Ctrsf JBoudreaux-                                Certification of no
               10/31/2016                4/13/16    Provider                                                                           FALSE
M.D.                      Records                               orMedicareandMedicaidSvcsLegalDeptPriva CMMS-R6-1                                  records.
                                                                cyOffice_00000001_00000001.pdf
                                                                Ochsner - Dr. Katherine Baumgarten,
                                                                                                      JBoudreauxJr-
Khatib, Sammy,            Medical                               750002_067_001_BoudreauxJrJosephJ_Bau                                              Certificate of no
               10/31/2016                8/31/16    Provider                                          KBaumgarten-1-                   FALSE
M.D.                      Records                               mgartenKatherineMD_00000001_00000002.                                              records.
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                                                                pdf
                                                                Ochsner Medical Center Kenner Radiology,
Khatib, Sammy,            Medical                                                                        JBoudreaux-                               Certificate of no
               10/31/2016                9/27/16    Provider    750002_015_002_OchsnerMedCtrKennerRa                                   FALSE
M.D.                      Records                                                                        OMC-K-RD-3                                radiology.
                                                                dDept_00000003_00000003.pdf




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                           Case 2:14-md-02592-EEF-MBN      Document
                                                       Document      5399-16
                                                                5399-16      Filed 02/10/17
                                                                        *SEALED*             Page 64
                                                                                   Filed 02/10/17    of 76
                                                                                                  Page  64 of 76
                                                                     Sammy Khatib, M.D.
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                                                                Ochsner Medical Center Kenner Radiology,                                                   Date range
Khatib, Sammy,            Medical                                                                        JBoudreaux-
               10/31/2016                9/29/16    Provider    750002_015_003_OchsnerMedCtrKennerRa                                           FALSE       approximately:
M.D.                      Records                                                                        OMC-K-RD-4
                                                                dDept_00000004_00000004.pdf                                                                2014

                                                                Ochsner Medical Center Kenner Radiology,                                                   Date range
Khatib, Sammy,            Medical                                                                        JBoudreaux-
               10/31/2016                9/29/16    Provider    750002_015_004_OchsnerMedCtrKennerRa                                           FALSE       approximately:
M.D.                      Records                                                                        OMC-K-RD-5-7
                                                                dDept_00000005_00000007.pdf                                                                2014
                                                                Ochsner Medical Center Main Campus
                                                                Medicals,                                                                                  Date range
Khatib, Sammy,            Medical                                                                      JBoudreaux-
               10/31/2016                 4/1/16    Provider    750002_047_001_BoudreauxJrJosephJ_Ochs                                         FALSE       approximately:
M.D.                      Records                                                                      OMC-MD-1-13
                                                                nerMedCtrReleaseofInformation_00000001                                                     2014
                                                                _00000013.pdf
                                                                Ochsner St. Anne Family Doctor Clinic – Dr.   750002_019_00
                                                                                                                                                           Date range
Khatib, Sammy,            Medical                               A. Duplantis Clinic Records,                  5_DuplantisAndr
               10/31/2016                10/20/16   Provider                                                                                   FALSE       approximately:
M.D.                      Records                               750002_019_005_DuplantisAndreMD_0000          eMD_00000465
                                                                                                                                                           2016
                                                                0465_00000499.pdf                             _00000499
                                                                Thibodeaux Regional Billing,
                                                                                                                                                           Date range
Khatib, Sammy,            Medical                               750002_061_001_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016                7/11/16    Provider                                                                                   FALSE       approximately:
M.D.                      Records                               odauxRegionalMedCtrPatientAccts_0000000 TRMC-BD-1-2
                                                                                                                                                           2009-2014
                                                                1_00000002.pdf
                                                                Thibodeaux Regional Pathology,
                                                                                                                                                           Date range
Khatib, Sammy,            Medical                               750002_062_001_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016                 6/2/16    Provider                                                                                   FALSE       approximately:
M.D.                      Records                               odauxRegionalMedCtrPathDept_00000001_ TRMC-PD-1
                                                                                                                                                           2009
                                                                00000001.pdf
                                                                Thibodeaux Regional Radiology,
                                                                                                                                                           Date range
Khatib, Sammy,            Medical                               750002_063_001_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016                5/26/16    Provider                                                                                   FALSE       approximately:
M.D.                      Records                               odauxRegionalMedCtrRadDept_00000001_0 TRMC-RD-1
                                                                                                                                                           2014
                                                                0000001.pdf
                                                                Thibodeaux Regional Radiology,
                                                                                                                                                           Date range
Khatib, Sammy,            Medical                               750002_063_002_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016                 6/2/16    Provider                                                                                   FALSE       approximately:
M.D.                      Records                               odauxRegionalMedCtrRadDept_00000002_0 TRMC-RD-2
                                                                                                                                                           2014
                                                                0000002.pdf




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                                                                5399-16      Filed 02/10/17
                                                                        *SEALED*             Page 65
                                                                                   Filed 02/10/17    of 76
                                                                                                  Page  65 of 76
                                                                     Sammy Khatib, M.D.
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                                                                Thibodeaux Regional Radiology,
                                                                                                                                                          Date range
Khatib, Sammy,            Medical                               750002_063_003_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016                7/18/16    Provider                                                                                  FALSE       approximately:
M.D.                      Records                               odauxRegionalMedCtrRadDept_00000003_0 TRMC-RD-3
                                                                                                                                                          2014
                                                                0000003.pdf
                                                                Thibodeaux Regional Radiology,
Khatib, Sammy,            Medical                               750002_063_004_BoudreauxJrJosephJ_Thib JBoudreaux-                                        Certificate of
               10/31/2016                 8/4/16    Provider                                                                                  FALSE
M.D.                      Records                               odauxRegionalMedCtrRadDept_00000004_0 TRMC-RD-4                                           records received.
                                                                0000004.pdf
                                                                Thibodeaux Regional Radiology,
                                                                                                                                                          Date range
Khatib, Sammy,            Medical                               750002_063_005_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016                 8/5/16    Provider                                                                                  FALSE       approximately:
M.D.                      Records                               odauxRegionalMedCtrRadDept_00000005_0 TRMC-RD-5
                                                                                                                                                          2014
                                                                0000005.pdf
                                                                Thibodeaux Regional Radiology,
                                                                                                                                                          Date range
Khatib, Sammy,            Medical                               750002_063_006_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016                 8/8/16    Provider                                                                                  FALSE       approximately:
M.D.                      Records                               odauxRegionalMedCtrRadDept_00000006_0 TRMC-RD-6
                                                                                                                                                          2014
                                                                0000006.pdf
                                                                Thibodeaux Surgical Specialists - Dr. William
                                                                                                              JBoudreaux-                                 Date range
Khatib, Sammy,            Medical                               Bisland,
               10/31/2016                 5/6/16    Provider                                                  WBBislandJr-1-                  FALSE       approximately:
M.D.                      Records                               750002_056_001_BoudreauxJrJosephJ_Bisla
                                                                                                              16                                          2015
                                                                ndWilliamBJrMD_00000001_00000016.pdf

                                                                Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                   Plaintiff   Various),                               JBoudreaux-                                       Date range
               10/31/2016                3/25/16                                                                                              FALSE
M.D.                      Records                   Produced    750002_003_008_BoudreauxJrJosephJ_Plain PPR-4485-5047                                     approximately:
                                                                tiffProducedRecs_00004485_00005047.pdf
                                                                Pharmacy records of Wal-Mart,
                                                                                                                                                          Date range
Khatib, Sammy,            Medical                               750002_051_001_BoudreauxJrJosephJ_Wal JBoudreaux-
               10/31/2016                4/12/16    Provider                                                                                  FALSE       approximately:
M.D.                      Records                               MartStoresIncPharmacy_00000001_000000 WMS-1-5
                                                                                                                                                          1997-2016
                                                                05.pdf
                                                                Thibodeaux Regional Medicals,
                                                                                                                                                          Date range
Khatib, Sammy,            Medical                               750002_060_001_BoudreauxJrJosephJ_Thib JBoudreaux-
               10/31/2016                 6/2/16    Provider                                                                                  FALSE       approximately:
M.D.                      Records                               odauxRegionalMedCtrMedRecsDept_00000 TRMC-MD-1-11
                                                                                                                                                          2009-2014
                                                                001_00000011.pdf




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                                                                5399-16      Filed 02/10/17
                                                                        *SEALED*             Page 66
                                                                                   Filed 02/10/17    of 76
                                                                                                  Page  66 of 76
                                                                        Sammy Khatib, M.D.
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                                                                                                             750002_025_00
                                                                   Cardiovascular Institute of the South     4_Cardiovascula
                                                                                                                                                            Date range
Khatib, Sammy,            Medical                                  Houma Clinic Records,                     rInstituteoftheS
               10/31/2016                 10/12/16     Provider                                                                                 FALSE       approximately:
M.D.                      Records                                  750002_025_004_CardiovascularInstituteoft outhHouma_00
                                                                                                                                                            2016
                                                                   heSouthHouma_00000501_00000571.pdf        000501_000005
                                                                                                             71
                                                                                                             750002_035_00
                                                                   Pharmacy Records of Rouses,                                                              Date range
Khatib, Sammy,            Medical                                                                            4_RousesPharm
               10/31/2016                 10/12/16     Provider    750002_035_004_RousesPharmacy_000000                                         FALSE       approximately:
M.D.                      Records                                                                            acy_00000081_
                                                                   81_00000100.pdf                                                                          2015-2016
                                                                                                             00000100
                                         02/04/2016;               Academic Dermatology Associates -            SOrr-AcadDerm                               Date range
Khatib, Sammy,            Medical
               10/31/2016                05/04/2016;   Provider    Matherne, Ryan J. MD, SOrr - Academic        000001 –                        FALSE       approximately:
M.D.                      Records
                                          05/09/2016               Dermatology.pdf                              000022                                      2014-2015
                                                                                                                  SOrr-AAS-                                 Date range
Khatib, Sammy,            Medical         02/29/16;                Acadian Ambulance Service, SOrr - Acadian
               10/31/2016                              Provider                                                   000001 –                      FALSE       approximately:
M.D.                      Records        04/06/2016                Ambulance.pdf
                                                                                                                  000010                                    2015
                                                                   Ambulatory Eye Surgery Center of Louisiana SOrr-AESCL-                                   Date range
Khatib, Sammy,            Medical
               10/31/2016                  2/8/16      Provider    - Brint, Stephen F., MD, SOrr - Ambulatory 000001 –                          FALSE       approximately:
M.D.                      Records
                                                                   Eye Surgery Center.pdf                         000077                                    2013
                                                                                                                  SOrr-
                                                                                                                                                            Date range
Khatib, Sammy,            Medical                                  American Memorial Life, SOrr - American        AmeMemLife-
               10/31/2016                  5/4/16      Provider                                                                                 FALSE       approximately:
M.D.                      Records                                  Memorial Life.pdf                              000001 –
                                                                                                                                                            2012-2015
                                                                                                                  000142
                                         04/12/2016;                                                              SOrr-StEP-                                Date range
Khatib, Sammy,            Medical                                  Beeman, Chad MD - St. Elizabeth Physicians,
               10/31/2016                07/18/2016;   Provider                                                   000001 –                      FALSE       approximately:
M.D.                      Records                                  SOrr - St Elizabeth Physicians.pdf
                                          07/27/2016                                                              000061                                    2005-2008
                                                                                                                  SOrr-DCasey-                              Date range
Khatib, Sammy,            Medical                                  Casey, Dennis, M.D., SOrr - Casey, Dennis,
               10/31/2016                  6/21/16     Provider                                                   000001 –                      FALSE       approximately:
M.D.                      Records                                  M.D.pdf
                                                                                                                  000010                                    2005-2009
                                                                                                                  SOrr-FCruz-                               Date range
Khatib, Sammy,            Medical                                  Cruz, Francisco, M.D., SOrr - Cruz, Francisco,
               10/31/2016                  3/10/16     Provider                                                   000001 –                      FALSE       approximately:
M.D.                      Records                                  M.D.pdf
                                                                                                                  000180                                    2013-2015




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                                                       Document      5399-16
                                                                5399-16      Filed 02/10/17
                                                                        *SEALED*             Page 67
                                                                                   Filed 02/10/17    of 76
                                                                                                  Page  67 of 76
                                                                     Sammy Khatib, M.D.
                                                                      Reliance Material
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                              Category   Document   Document                                                                Protective   Available
                                                                                                                              Order
                                                                University Health Shreveport,
Khatib, Sammy,            Medical                               750002_059_001_BoudreauxJrJosephJ_Univ JBoudreaux-                                    Certificate of no
               10/31/2016                5/18/16    Provider                                                                              FALSE
M.D.                      Records                               HealthShreveportMedRecsDept_00000001_ UniHShrev-1                                     records
                                                                00000001.pdf
                                                                Pharmacy records of Rouses,                                                           Date range
Khatib, Sammy,            Medical                                                                      JBoudreaux-
               10/31/2016                3/18/16    Provider    750002_035_002_BoudreauxJrJosephJ_Rous                                    FALSE       approximately:
M.D.                      Records                                                                      RousesPh-15-79
                                                                esPharmacy_00000015_00000079.pdf                                                      2012-2015
                                                                                                            SOrr-CVS-                                 Date range
Khatib, Sammy,            Medical
               10/31/2016                2/24/16    Provide     CVS Pharmacy, Inc., SOrr - CVS Pharmacy.pdf 000001 –                      FALSE       approximately:
M.D.                      Records
                                                                                                            000028                                    2005-2015
                                                                Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                   Plaintiff   Various),                               JBoudreaux-                                   Date range
               10/31/2016                1/20/16                                                                                          FALSE
M.D.                      Records                   Produced    750002_003_001_BoudreauxJrJosephJ_Plain PPR-3001-3750                                 approximately:
                                                                tiffProducedRecs_00003001_00003750.pdf

                                                                Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                   Plaintiff   Various),                               JBoudreaux-                                   Date range
               10/31/2016                1/20/16                                                                                          FALSE
M.D.                      Records                   Produced    750002_003_001_BoudreauxJrJosephJ_Plain PPR-3751-3845                                 approximately:
                                                                tiffProducedRecs_00003751_00003845.pdf

                                                                Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                   Plaintiff   Various),                               JBoudreaux-                                   Date range
               10/31/2016                2/22/16                                                                                          FALSE
M.D.                      Records                   Produced    750002_003_003_BoudreauxJrJosephJ_Plain PPR-3857                                      approximately:
                                                                tiffProducedRecs_00003857_00003857.pdf

                                                                Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                   Plaintiff   Various),                               JBoudreaux-                                   Date range
               10/31/2016                2/24/16                                                                                          FALSE
M.D.                      Records                   Produced    750002_003_004_BoudreauxJrJosephJ_Plain PPR-3858-3961                                 approximately:
                                                                tiffProducedRecs_00003858_00003961.pdf

                                                                Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                   Plaintiff   Various),                               JBoudreaux-                                   Date range
               10/31/2016                4/20/16                                                                                          FALSE
M.D.                      Records                   Produced    750002_003_009_BoudreauxJrJosephJ_Plain PPR-5048-5117                                 approximately:
                                                                tiffProducedRecs_00005048_00005117.pdf



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                           Case 2:14-md-02592-EEF-MBN      Document
                                                       Document      5399-16
                                                                5399-16      Filed 02/10/17
                                                                        *SEALED*             Page 68
                                                                                   Filed 02/10/17    of 76
                                                                                                  Page  68 of 76
                                                                        Sammy Khatib, M.D.
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                                                                   Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                      Plaintiff   Various),                               JBoudreaux-                                         Date range
               10/31/2016                  1/20/16                                                                                                 FALSE
M.D.                      Records                      Produced    750002_003_001_BoudreauxJrJosephJ_Plain PPR-1501-2250                                       approximately:
                                                                   tiffProducedRecs_00001501_00002250.pdf

                                                                   Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                      Plaintiff   Various),                               JBoudreaux-                                         Date range
               10/31/2016                  1/20/16                                                                                                 FALSE
M.D.                      Records                      Produced    750002_003_001_BoudreauxJrJosephJ_Plain PPR-2251-3000                                       approximately:
                                                                   tiffProducedRecs_00002251_00003000.pdf

                                                                   Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                      Plaintiff   Various),                               JBoudreaux-                                         Date range
               10/31/2016                  2/11/16                                                                                                 FALSE
M.D.                      Records                      Produced    750002_003_002_BoudreauxJrJosephJ_Plain PPR-3846-3856                                       approximately:
                                                                   tiffProducedRecs_00003846_00003856.pdf

                                                                   Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                      Plaintiff   Various),                               JBoudreaux-                                         Date range
               10/31/2016                  3/10/16                                                                                                 FALSE
M.D.                      Records                      Produced    750002_003_006_BoudreauxJrJosephJ_Plain PPR-3966                                            approximately:
                                                                   tiffProducedRecs_00003966_00003966.pdf

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Khatib, Sammy,            Medical        03/09/2016;               St. Martin, Maurice E., Jr., M.D., SOrr - St.
               10/31/2016                              Provider                                                    MEStMartinJr-                   FALSE       approximately:
M.D.                      Records         05/20/2016               Martin, Maurice, M.D..pdf
                                                                                                                   000001 – 00346                              2011-2015

                                                                   Pharmacy Records of Rouses,
Khatib, Sammy,            Medical                                                                         JBoudreaux-                                          Date range
               10/31/2016                  2/1/16      Provider    750002_035_001_BoudreauxJrJosephJ_Rous                                          FALSE
M.D.                      Records                                                                         RousesPh-1-14                                        approximately:
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                                                                   Thibodeaux Regional Medicals,
Khatib, Sammy,            Medical                                  750002_060_003_BoudreauxJrJosephJ_Thib JBoudreaux-                                          Certificate of
               10/31/2016                  6/21/16     Provider                                                                                    FALSE
M.D.                      Records                                  odauxRegionalMedCtrMedRecsDept_00000 TRMC-MD-13                                             records received
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Khatib, Sammy,            Medical                                                                         JBoudreaux-                                          Certificate of no
               10/31/2016                  4/6/16      Provider    750002_035_003_BoudreauxJrJosephJ_Rous                                          FALSE
M.D.                      Records                                                                         RousesPh-80                                          records
                                                                   esPharmacy_00000080_00000080.pdf



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                                                                        *SEALED*             Page 69
                                                                                   Filed 02/10/17    of 76
                                                                                                  Page  69 of 76
                                                                    Sammy Khatib, M.D.
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Khatib, Sammy,            Medical                               750002_031_001_BoudreauxJrJosephJ_Sout
               10/31/2016                2/25/16    Provider                                             SLVHCS-MD-1-                  FALSE       approximately:
M.D.                      Records                               heastLouisianaVeteransHealthCareSystemRe
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Khatib, Sammy,            Medical                                                                        JBoudreaux-
               10/31/2016                2/11/16    Provider    750002_033_001_BoudreauxJrJosephJ_Sout                                 FALSE       approximately:
M.D.                      Records                                                                        SLVHCS-RD-1
                                                                heastLouisianaVeteransHealthCareSystemRa                                           2005
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                                                                System Radiology,                                                                  Date range
Khatib, Sammy,            Medical                                                                        JBoudreaux-
               10/31/2016                7/14/16    Provider    750002_033_002_BoudreauxJrJosephJ_Sout                                 FALSE       approximately:
M.D.                      Records                                                                        SLVHCS-RD-2
                                                                heastLouisianaVeteransHealthCareSystemRa                                           2005
                                                                dDept_00000002_00000002.pdf
                                                                Terrebonne General Medicals,
                                                                                                       JBoudreaux-                                 Date range
Khatib, Sammy,            Medical                               750002_027_001_BoudreauxJrJosephJ_Terr
               10/31/2016                4/13/16    Provider                                           TGMC-MD-1-                      FALSE       approximately:
M.D.                      Records                               ebonneGeneralMedCtrMedRecsDept_00000
                                                                                                       750                                         2015
                                                                001_00000750.pdf
                                                                Terrebonne General Medicals,
                                                                                                       JBoudreaux-                                 Date range
Khatib, Sammy,            Medical                               750002_027_001_BoudreauxJrJosephJ_Terr
               10/31/2016                4/13/16    Provider                                           TGMC-MD-751-                    FALSE       approximately:
M.D.                      Records                               ebonneGeneralMedCtrMedRecsDept_00000
                                                                                                       1180                                        2015
                                                                751_00001180.pdf
                                                                Terrebonne General Medicals,
                                                                                                       JBoudreaux-
Khatib, Sammy,            Medical                               750002_027_002_BoudreauxJrJosephJ_Terr                                             Date range
               10/31/2016                 8/5/16    Provider                                           TGMC-MD-                        FALSE
M.D.                      Records                               ebonneGeneralMedCtrMedRecsDept_00001                                               approximately:
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                                                                181_00001295.pdf
                                                                Terrebonne General Billing,
                                                                                                                                                   Date range
Khatib, Sammy,            Medical                               750002_028_001_BoudreauxJrJosephJ_Terr JBoudreaux-
               10/31/2016                4/13/16    Provider                                                                           FALSE       approximately:
M.D.                      Records                               ebonneGeneralMedCtrPatientAccts_000000 TGMC-BD-1-12
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                                                       Document      5399-16
                                                                5399-16      Filed 02/10/17
                                                                        *SEALED*             Page 70
                                                                                   Filed 02/10/17    of 76
                                                                                                  Page  70 of 76
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                                                                Terrebonne General Pathology,
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Khatib, Sammy,            Medical                               750002_030_001_BoudreauxJrJosephJ_Terr JBoudreaux-
               10/31/2016                 2/1/16    Provider                                                                           FALSE       approximately:
M.D.                      Records                               ebonneGeneralMedCtrPathDept_00000001 TGMC-PD-1
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                                                                _00000001.pdf
                                                                Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                   Plaintiff   Various),                               JBoudreaux-                                Date range
               10/31/2016                1/20/16                                                                                       FALSE
M.D.                      Records                   Produced    750002_003_001_BoudreauxJrJosephJ_Plain PPR-1-750                                  approximately:
                                                                tiffProducedRecs_00000001_00000750.pdf

                                                                Plaintiff Produced Records (Providers
Khatib, Sammy,            Medical                   Plaintiff   Various),                               JBoudreaux-                                Date range
               10/31/2016                7/11/16                                                                                       FALSE
M.D.                      Records                   Produced    750002_003_010_BoudreauxJrJosephJ_Plain PPR-5118-5233                              approximately:
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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 71
                                                        Filed 02/10/17    of 76
                                                                       Page  71 of 76




                               EXHIBIT “B”




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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 72
                                                        Filed 02/10/17    of 76
                                                                       Page  72 of 76




                          CURRICULUM VITAE


                          SAMMY KHATIB, M.D.




      EMPLOYMENT:

            2014-Present Vice Chairman, Cardiology
                         Department of Cardiology
                         John Ochsner Heart and Vascular Institute

            2011-Present Section Head, Electrophysiology
                         Department of Cardiology
                         John Ochsner Heart and Vascular Institute
                         New Orleans, LA

            2012-Present Program Director, Clinical Cardiac Electrophysiology Fellowship
                         John Ochsner Heart and Vascular Institute
                         New Orleans, LA

            2008-2011     Staff Physician - Electrophysiology
                          Department of Cardiology
                          John Ochsner Heart and Vascular Institute
                          New Orleans, LA

            2007-2008    Clinical Lecturer
                         University of Florida at Shands Hospital
                         Gainesville, FL

      POST-GRADUATE TRAINING:

            2006-2007     Cardiovascular Electrophysiology Fellowship Program
                          University of Florida at Shands Hospital
                          Gainesville, FL

            2003-2006    General Cardiovascular Medicine Fellowship Program
                         Ochsner Clinic Foundation, New Orleans, LA

            1999-2002:    Categorical Internal Medicine Residency Program
                          Georgetown University Medical Center, Washington D.C.




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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 73
                                                        Filed 02/10/17    of 76
                                                                       Page  73 of 76



      EDUCATION:

            1995-1999:    Wayne State University School of Medicine
                          Detroit, Michigan
                          Doctor of Medicine

            1991-1995:    Duke University
                          Durham, North Carolina
                          Bachelor of Science, Cum Laude




      HONORS/AWARDS:

            2010, 2011:   Mentor of the Year, Ochsner Clinic Foundation, Department of
                          Cardiology

            2008:         Excellence in Teaching, University of Florida, Department of
                          Medicine

            2004:         Herman L Price, M.D. Clinical Excellence in Heart Failure Award

            2001:         Resident “Pearl” Award
                                 Awarded by 3rd yr medical students for excellence in
                                 student teaching

            1999:         Alpha Omega Alpha
                          Wayne State University School of Medicine




      ABSTRACTS/PUBLICATIONS:


            Menezes AR, Lavie CJ, Dinicolantonio JJ, O'Keefe J, Morin DP, Khatib S, Milani
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            factors and primary prevention strategies. Mayo Clin Proc. 2013 Apr; 88 (4):
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                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 74
                                                        Filed 02/10/17    of 76
                                                                       Page  74 of 76



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            Saad MN, Shams OF, Rubiano A, Yarbrough J, Xue J, Khatib S, Morin DP. In
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            Mortality. Oral Presentation, Heart Rhythm Society Annual Meeting, 2010.

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            Scientific Sessions, May 2004.

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                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 75
                                                        Filed 02/10/17    of 76
                                                                       Page  75 of 76



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            Stable Heart Transplant Recipients. Poster presentation at Heart Failure Society
            of America Scientific Sessions, September 2004.

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Case 2:14-md-02592-EEF-MBN      Document
                            Document      5399-16
                                     5399-16      Filed 02/10/17
                                             *SEALED*             Page 76
                                                        Filed 02/10/17    of 76
                                                                       Page  76 of 76




                                       TESTIMONIAL HISTORY


         I have not testified in the last four years.




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